Case 8:10-cv-01130-.]VS-A.]W Document 19 Filed 11/18/10 Page 1 of 10 Page |D`#:124`

 

 

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Attorneys for Plaintiff §§ §§
6 EAS Technologies, LLC ix §
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§ ;';: w
8 UNITED STATES DISTRICT COURT § :"§ §§
9 CENTRAL DISTRICT OF CALIFORNIA § x§§;§ §
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12 EAS_ Technologies, LLC, a Kentucky Case No. SACV 10-1130-JVS (AJWX)
Lirnited Liability Conipany,
13 Judge: Hon. James V. Selna
Plaintiff,
14 FIRST AMENDED COMPLAINT
vs. FOR:
1 5
Mathevv Higbee, individually and doing Copyright Infringement
16 business as recordgone.coin and
recordclearing.org; Lavv Of_fices of
17 Mathew Higbee, a California
corporation, individually and doing
18 business as reoordgone.corn and
recordelearing.org; Hi bee & _
19 Associates, individual y and doing
business as recordgone.com and
20 recordclearing.org; and Does 1-20, _
inclusive, Dernand for Jury Trial
21
Defendants.
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24 For its First Arnended Coinplaint against the defendants and pursuant to the
25 ;Coui't’s order of October 28, 2010, Plaintiff EAS Technologies, LLC, alleges as
26 follows:
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Parties and Jurisdiction

l. Plaintiff EAS Technologies, LLC (“EAS” or “Plaintiff”), is and at all
times relevant was a Kentucky limited liability company organized and existing
under the laws of the Commonwealth of Kentucky, having a principal place of
business in Lexington, Kentucky.

2. EAS is in the business of designing and developing databases and
operating websites that allow individuals to determine for themselves their eligibility
for, and potentially to seek, the expungement, clearing, and other relief regarding
their criminal records.

3. On information and belief, defendant Mathew Higbee (“Higbee”), is and

§ at all times relevant was an individual licensed to practice law in the State of

 

‘California, who resides in Orange County and has his principal place of business at
l§ 1901 Newport Bivd., suite 350, Costa Mesa, CA 92627.
§ 4. On information and belief, defendant Law Offices of Mathew K. Higbee
§ is and at all times relevant was a corporation organized and existing under the laws
of California, having its principal place of business at 1901 Newport Blvd., Suite
350, Costa Mesa, CA 92627. On information and belief, defendant Law Offices of
Mathew K. Higbee is a corporation with offices in several states and through which
§ defendant Higbee practices law.
5. On information and belief, defendants Higbee and/or the Law Offices of
Mathew K. Higbee sometimes use the name “Higbee & Associates” in practicing
law. The organizational status of defendant “Higbee & Associates” is unknown.

6. Hereinafter, defendant Law Offices of Mathew K. Higbee and defendant
Higbee & Associates are referred to jointly and severally as “Higbee law firm.”
l 7. According to the defendant Higbee law firm’s website, it is a law firm
lengaged in the expungement and record clearing of criminal records.
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8. On information and belief, defendant “recordgone.com” is and at all
times relevant was a website owned and/or used by defendant Higbee and the
defendant Higbee law firm. On information and belief, defendant
“recordclearing.org” is and at all times relevant was also a website owned and/or
used by defendants

9. The true names and capacities of defendants Does 1 through 20,
inclusive, are presently unknown to Plaintiff, who therefore sues said defendants by
a such fictitious names. Plaintiff will seek leave of Court to amend this Complaint to
l insert their true names and capacities when they are ascertained Plaintiff alleges on

information and belief that each of the defendants named as Does 1 through 20,
inclusive, is legally responsible in some manner for the events and happenings
§ referred to herein and that the conduct of each defendant proximately caused, or is
"otherwise responsible for, plaintiffs damages alleged herein. Each reference in this
;Complaint to “defendant,” “defendants,” or a specifically named defendant, refers
lalso to all defendants sued under fictitious names.

10. At all relevant times, each of the defendants was and is the agent,
principal, partner, joint venturer, co-conspirator, officer, director, employee, and/or
alter-ego of each other in and about the matters and activities alleged herein. At all

hrelevant times, they were acting within the course and scope of such relationships
Fwith actual and/or apparent authority to do so.

`i 11. This Court has subject matter jurisdiction over this matter pursuant to 28
U.S.C. § 1331 and § 1338 on the grounds that this case alleges a federal claim for
copyright infringement under 17 U.S.C. § 101 et seq. In addition, this Court has
diversity subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a) in that there is
complete diversity between the plaintiff and the defendants and the matter in

' controversy exceeds $75,000, exclusive of interest and costs.

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12. This Court has personal jurisdiction over the defendants, and each of
them, in that they are citizens of and reside in California and/or their principal place
of business is in California.

13. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and
1400(a) as defendants, and each of them, are located and reside within the Central
§District of California, have their principal place of business here, the acts complained

of in this Complaint were committed and/or directed from here, and defendants may

be found here.

l Factual Background

14. Plaintiff EAS is located in Lexington, Kentucky, where it operates

§ several internet business websites, including “clearmyrecord.com,” a website which
‘provides self-help services for individuals who have a criminal record seeking
expungement, record-clearing, and other forms of relief regarding their criminal
records. EAS’s previous website for this service was “removeit.org.” Plaintiff has
offered its services since approximately 2006.

15. Plaintiff s self-help services are offered to individuals in all fifty states
and are limited to providing an online legal portal as it relates to criminal records and
criminal records relief, such as expungements, pardons, record sealing and other
forms of relief. Plaintiff provides an automated software solution to individuals who

choose to prepare their own legal documents regarding such criminal record relief as

 

 

l’ well as services that communicate the clearance or relief of criminal records to
various third party databases. Plaintiff charges a flat rate for its services.
16. Plaintiff developed databases and websites to allow people with

criminal records to seek relief regarding their records. EAS independently created its

 

websites and databases and they possess the requisite degree of creativity.
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17. Upon information and belief, Defendants operate an internet business
with a website known as “recordgone.com” and claim to provide legal services
through its internet business to its customers through licensed attorneys in Arizona,
California, Florida, Minnesota, Nevada, Pennsylvania, Texas, Utah and Washington.

First Cause of Action
(Copyright Infringement Under 17 U.S.C. § 101, et seq.)

18. EAS realleges and incorporates by reference each and every allegation
contained in paragraphs 1 through 17, inclusive, as though set forth in full herein.

19. A copyright notice is and at all relevant times has been clearly and
conspicuously displayed on each page of EAS’s websites.

20. EAS has a valid copyright in its databases and websites, and EAS is the

1 owner of the copyright associated with its databases and websites.

21. EAS has applied for copyright registration of its databases and websites
and has filed an application for such copyright registration with the U.S. Copyright
Office.

22. Defendants have had full access to EAS’s websites and databases
through and by the intemet. Subsequently, Defendants developed and operate a
website known as recordgone.com Defendants’ website is also available to others as
it is on the internet.

23. Defendants’ recordgone.com website is substantially similar to EAS’s
websites and EAS’s protected copyrighted material. Upon information and belief,
defendants substantially and in effect developed their website by in effect copying
portions of EAS’s copyrighted websites and databases. Upon information and belief,
Defendants also created derivative works (e.g., their websites/databases) from EAS’s
copyrighted websites and databases, from which Defendants have benefitted.

24. [deleted]

25. EAS is the exclusive owner and has exclusive rights to the copyright.

Defendants have no right to use plaintiff EAS’s copyrighted material.
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26. Defendants’ conduct has been and continues to be infringement of
EAS’s copyright Defendants’ conduct constitutes infringement of EAS’s copyright
and a violation of 17 U.S.C. § 101 et seq.

27. Defendants are deriving and have derived economic benefit from their
infringement of EAS’s copyright

28. As a direct and proximate result of Defendants’ conduct, EAS has
suffered and will continue to suffer damages.

29. At a minimum, the copyright statute provides statutory damages of
$150,000 per infringement EAS is also entitled to attorneys’ fees under 17 U.S.C.
§ 505.

30. Defendants’ conduct has been willful and an intentional infringement of
plaintiff s property and copyright interests Defendants have acted with indifference
and reckless disregard for plaintiffs rights. Defendants have acted maliciously,

,wantonly, and/or oppressively.

 

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Prayer for Relief
WHEREFORE, Plaintiff prays this Court enter judgment in its favor on all

§
§counts granting the following relief:
§ 1. For preliminary and permanent injunctive relief enjoining and

§restraining defendants and all persons acting in concert with them from reproducing,
idistributing, adapting, creating derivative works of, displaying, or performing any

materials that are substantially similar to the EAS’s copyrighted material, and to

 

§ deliver to the Court for destruction or other reasonable disposition all such materials
and means for producing same in defendants’ possession or control;

2. For a judgment stating that defendants have infringed, actively induced
§ others to infringe, and/or contributorily infringed EAS’s copyright, and which

requires defendants to pay over to plaintiff all damages sustained by plaintiff due to

 

such infringement;

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3. For statutory damages in the amount of no less than $150,000 per
infringement;
4. For actual damages suffered by plaintiff in an amount to be proven at
the time of trial;
5. F or disgorgement of defendants’ profits in an amount to be proven at
'trial;
6. [deleted]
7. For prejudgment interest on all damages;
8. For costs and disbursements, including but not limited to, attomeys’
fees; and
9. For such other and further relief as the Court deems appropriate.

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Dated: November 17, 2010 CARLTON DiSANTE & FREUDENBERGER LLP
Jeffrey L. Sikkema

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J_ef_frey L Sikkema
Attorneys for/ Plaintiff
EAS Technologies, LLC

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Jury Demand
Plaintiff hereby demands a trial by jury as provided by Rule 38(a) of the

Federal Rules of Civil Procedure.
Dated: November 17, 2010 CARLTON DiSANTE & FREUDENBERGER LLP

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Jeffrey L. Sikkema

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/ Jeffrey L. Sikkema
Attorneys for Plaintiff
EAS Technologies, LLC

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1 PROOF OF SERVICE
2
3 STATE OF CALIFORNIA, COUNTY OF ORANGE.
4
_l, the undersigned, declare that l am employed in the aforesaid C_Iount , State
5 of California. 1 a_m over the age of 18 and not a part to the within action. §
business address is 2600 Michelson Drive, Suite 80 , Irvine, California 9261 . On
6 November 17, 2010, l served upon the interested art (ies) in this action the
following document described as: FlRST AMENBE COMPLAINT
7
By placing a true and correct copy thereof enclosed_in sealed envelope(s)
8 addressed as stated on the attached service list for processing by the following
method:
9
By depositing such envelo e(s) with postage thereon fully prepaid in a post
10 1 box, mailbox_, sub-post of ice, substation, mail chute, or other _ike facility _
1 regularly maintained by the United States Postal Service in Irvine, California.
1 1
Executed on November 17, 2010, at Irvine, California.
12
_ l declare that I am employed in the office of a member of the Bar of or
13 §permitted to practice before this Court at whose direct' n the service was made.
14 _ ' , _
Lisa Magana /`Q,Q/ _
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